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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

                                    *
BRECK WILLIAMS AND                  * CIVIL ACTION NO.      2:09-cv-00065
TARISA WILLIAMS                     *                       c/w
                                    *                       2:16-cv-13136
                                    *
v.                                  * JUDGE IVAN LEMELLE
                                    *
                                    *
RUST ENGINEERING AND                * MAGISTRATE JUDGE DANA DOUGLAS
CONSTRUCTION, INC., ET AL.          *
                                    *
                                    *
******************************************************************************


          OWL INTERNATIONAL, INC. d/b/a GLOBAL ASSOCIATES AND
               RUST ENGINEERING & CONSTRUCTION, INC.’S
                         MOTION TO DISMISS

      NOW INTO COURT, through undersigned counsel, comes Defendants, Owl

International, Inc. d/b/a/ Global Associates, and Rust Engineering & Construction, Inc.

(hereinafter “Williams II Defendants”) and moves this Court to dismiss all claims against them

with prejudice due to the Plaintiffs’ claims being prescribed. In support of this Motion the

Williams II Defendants offers its separately filed memorandum in support.

      WHEREFORE, Defendants, Owl International, Inc. d/b/a/ Global Associates, and Rust

Engineering & Construction, Inc. respectfully request that this Court grant its Motion and

dismiss all claims against them with prejudice.

      This, the 14th day of November, 2022.



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                                    Respectfully Submitted:

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                                    Attorney for Rust Engineering & Construction, Inc.


                              CERTIFICATE OF SERVICE

      I hereby certify that on the 14th day of November, 2022, I electronically transmitted the

foregoing document to the Clerk of Court using the ECF System for filing and transmittal of

Notice of Electronic Filing of ECF registrants. I also certify that a copy of the foregoing was

forwarded by United States Mail, postage prepaid and properly, to all to non-ECF registrants.



                                    /s/Richard M. Crump
                                    RICHARD M. CRUMP (#30460)




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